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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

       Defendants.

           UNITED STATES’ UNOPPOSED MOTION FOR ENLARGEMENT

       The United States respectfully moves the Court for an enlargement of five pages to file

omnibus motions in limine, which will include, in a single filing, six different motions in limine.

The United States will file one additional motion in limine separately. Defendants do not oppose

this motion for enlargement.

       Pursuant to the Court’s scheduling order, motions in limine—other than motions in limine

related to Jencks Act materials or witness and exhibit lists—are due on December 17, 2021.

(ECF No. 39 at 2.) The United States has endeavored “very diligently” to limit its omnibus

filing to fifteen pages to comply with the Court’s practice standard that motions “not exceed 15

pages,” inclusive of the caption, the signature block, and the certificate of service. Practice

Standards, http://www.cod.uscourts.gov/Portals/0/Documents/Judges/RBJ/RBJ_Practice_-

Standards.pdf?ver=2020-12-08-151330-180. However, the United States believes that it cannot

sufficiently set out the justifications for six motions in limine without an enlargement of five

pages, totaling twenty pages. The alternative of filing each of these six motions in limine




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separately would be inefficient, where only a small enlargement will allow the United States to

make an omnibus filing addressing these six motions in limine together.

                                        CONCLUSION

       The Court should grant the United States a five-page enlargement for its omnibus

motions in limine.

DATED: December 15, 2021                 Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       In compliance with Local Rule 7.1(a), the United States has conferred with counsel for
DaVita and Thiry regarding this motion for enlargement on December 14, 2021, and DaVita and
Thiry confirmed that they do not oppose this motion.

                                CERTIFICATE OF SERVICE

      On December 15, 2021, I filed this document with the Clerk of the Court using CM/ECF,
which will serve this document on all counsel of record.

                                         /s/ Anthony W. Mariano
                                         Anthony W. Mariano, Trial Attorney




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